AO 106 (Rev. 04/10) Application for a Search Warrant

UNITED STATES DISTRICT COURT

for the
Eastern District of Wisconsin

In the Matter of the Search of:

https://www.facebook.com/profile.php?id=13736 17493
Facebook Username: TJ O’Brien,
Facebook User ID: 1373617493

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APPLICATION FOR A SEARCH WARRANT
I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under penalty of
perjury that I have reason to believe that on the following person or property:

See Attachment A

located in the Eastern District of Wisconsin, there is now concealed:

See Attachment B

The basis for the search under Fed. R. Crim P. 41(c) is:
mi evidence of a crime;
im contraband, fruits of crime, or other items illegally possessed;
ml property designed for use, intended for use, or used in committing a crime;
CJ a person to be arrested or a person who is unlawfully restrained.

The search is related to violations of: 18 U.S.C. § 922(g), 18 U.S.C. § 924(c), 21 U.S.C. § 841

The application is based on these facts: See attached affidavit.

C1 Delayed notice of _ days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

   

Applicant's signature

Special Agent Richard Connors, ATF

 

 

 

 

Printed Name and Title
Sworn feybefore me and signed in my presence: Oh tec
ae L suyf’s signatur¢)
City and State: Milwaukee, Wisconsin Honorable Nancy Joseph _U.S. Magistrate Judge

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AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

I, Richard Connors, being first duly sworn, hereby depose and state as follows:
I. INTRODUCTION AND AGENT BACKGROUND

1. I make this affidavit in support of an application for a search warrant for
information associated with certain Facebook user IDs that are stored at premises
owned, maintained, controlled, or operated by Facebook, a social networking company
headquartered in Menlo Park, California. The information to be searched is described
in the following paragraphs and in Attachment A. This affidavit is made in support of
an application for a search warrant under 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and
2703(c)(1)(A) to require Facebook to disclose to the government records and other
information in its possession, pertaining to the subscribers or customers associated with
the user IDs.

2. It is believed that the information associated with the Facebook User IDs
1373617493 may contain evidence of violations of 18 U.S.C. § 922(g) (possession of
firearm by prohibited person); 18 U.S.C. § 924(c) (use of a firearm during a federal
drug/violent crime); and 22 U.S.C. § 841(a)(1). As a result, a request is submitted for a
search warrant to review information associated with the aforementioned Facebook
User IDs. The information to be searched is described in the following paragraphs and
in Attachment A.

3.1 am employed as a Special Agent with the United States Department of

Justice, Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) assigned to the

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Milwaukee Field Office since October of 2015. I have been employed as a full time law
enforcement officer for over 4 ¥2 years. I have received training at the Federal Law
Enforcement Training Center in Glynco, GA. I attended the Criminal Investigator
Training Program, as well as ATF’s Special Agent Training Program. I have received
training in the investigation of unlawful possession of firearms, the unlawful transfer of
firearms, and the unlawful dealing in firearms without a dealers’ license. Prior to
becoming a Special Agent with the ATF, I received two (2) bachelor’s degrees from
Northern Illinois University in the fields of Sociology and International Relations. I have
received a Master’s degree from Northern Illinois University in the field of American
Government.

4. I have received training in the investigation of firearms trafficking, and I work
alongside several senior ATF agents who have worked extensive firearms trafficking
investigations in the past. Based on my training, experience, and participation in
firearms trafficking investigations, I know and/or have observed the following:

e I have utilized informants to investigate firearms trafficking.
Through informant interviews and debriefings of individuals
involved in firearms trafficking, | have learned about the manner in
which individuals and organizations distribute firearms in
Wisconsin;

e Ihave also relied on informants to obtain firearms from individuals
on the streets (as opposed to licensed gun dealers), known as a

controlled purchase;

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e I have experience conducting street surveillance of individuals
engaged in firearms trafficking. I have participated in the
execution of mumerous search warrants where firearms,
ammunition, magazines, and firearms cases have been seized;

e I am familiar with the language utilized over the telephone to
discuss firearms trafficking, and know that the language is often
limited, guarded, and coded;

e I know that firearms traffickers often use electronic equipment,
wireless and land-line telephones, and pagers to conduct firearms
trafficking operations;

e I know that drug traffickers commonly have in their possession,
and at their residences and other locations where they exercise
dominion and control, firearms, ammunition, and records or
receipts pertaining to such;

e I know that firearms traffickers often put their telephones in
nominee names to distance themselves from telephones that are
utilized to facilitate firearms trafficking;

e I know that firearms traffickers often use proceeds to purchase
assets such as vehicles, property, jewelry, and narcotics. I also
know that firearms traffickers often use nominees to purchase
and/or title these assets to avoid scrutiny from law enforcement

officials; and

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e Iknow that firearms traffickers often use online firearms brokerage
websites, such as “Armslist,” to obtain firearms. I know that
individuals who utilize “Armslist,” will contact other users of the
site regarding the sale of firearms via electronic mail (hereinafter
referred to as EMAIL) and exchange phone numbers. Individuals
then discuss price and meet up locations to exchange money for the
firearms by phone. Individuals are not required to complete
background checks through “Armslist,” and individuals often do
not check to see if the person to whom they are transferring the
firearm is a convicted felon.

5. I have participated in several firearms trafficking investigations that involved
the seizure of computers, cellular phones, cameras, and other digital storage devices,
and the subsequent analysis of electronic data stored within these computers, cellular
phones, cameras, and other digital storage devices. In many occasions, this electronic
data has provided evidence of the crimes being investigated and corroborated
information already known or suspected by law enforcement.

6. Furthermore, Affiant knows from training and experience it is common for
drug users, drug dealers, firearms traffickers, and firearms straw purchasers to
communicate via cellular phone through a variety of electronic media. It also common
for firearm traffickers and straw buyers to communicate through cellular phones and
electronic media. Many times drug dealers also act as firearms traffickers by utilizing

the non-prohibited status (no felony convictions) of drug users to obtain firearms. In

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turn, these firearms are used by the drug trafficking organization to protect and secure
their goods and territory. The participants in these organizations can use text (SMS)
messaging, phone calls, electronic mail, messaging applications, and various soctal
media applications such as Facebook or Twitter.

7. The facts in this affidavit come from my personal observations, my training
and experience, and information obtained from other investigators and witnesses. This
affidavit is intended to show merely that there is sufficient probable cause for the
requested warrant and does not set forth all of my knowledge about this matter.

Il. ITEMS TO BE SEARCHED

8. The Facebook pages belonging to Timothy J. O'BRIEN, herein described as a
personal website that is accessed with a username and password specific only to that
page and further described in Attachment A. The following Facebook Page URL,
Facebook Usernames, and associated Facebook Identitications Numbers:

e Facebook Username: TJ O’Brien, Facebook User ID: 1373617493,
https: / /www.facebook.com/ profile.php?id=1373617493
The applied-for warrant would authorize the search and recovery of evidence
particularly described in Attachment B.
HI. PROBABLE CAUSE
FACEBOOK REVIEW OF TIMOTHY O'BRIEN

9. On August 11, 2017, Affiant reviewed the publicly visible area of the Facebook

page belonging to O’BRIEN (Facebook Username: TJ O’Brien, Facebook User ID:

1373617493). Affiant positively confirmed the identity of O'BRIEN by comparing

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photographs located on the Facebook page to the Wisconsin DMV photograph on file
for Timothy O’BRIEN (DOB 05/03/1989).

10. On June 20, 2016, O'BRIEN posted a photograph of what appears to be
himself firing what appears to be a black rifle (unknown make, model, and caliber, with
an object consistent in appearance with that of a sound suppressor attached to the
barrel). In the comment section below the photograph, a subject with the Facebook
Username “Aurele Hebert” asked in a post, “M4al with silencer? Lol.” O’BRIEN
responds “300 Blackout,” and then posts, “With suppressor. Better back pressure for the
round.” It should be noted that “300 Blackout” is a type of rifle round designed for use
with sound suppressed weapons.

11.On May 11, 2017, O'BRIEN posted a photo showing a black and silver
motorcycle, and what appears to be a pistol (unknown make, model, and caliber, with a
silver slide and a black composite frame) sitting on the seat. The photograph is
captioned “Missed muh babies ;)”. Facebook has a notation listing the location of the
posting of the photograph as Kenosha, WI.

12. On September 20, 2017, Affiant obtained a Federal Search warrant for the
content of the Facebook page “TJ O’Brien,” with a corresponding Facebook ID of
1373617493. The Facebook report for the page “TJ O’Brien” covered the dates of
01/01/2015 through 09/20/2017.

13. Throughout the analysis of the Facebook page “TJ O’Brien”, several posts
were located discussing the sale and trade of firearms. The page “TJ O’Brien” also

contains several conversations documenting the consumption and sale of marijuana.

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14. Throughout the Facebook page “TJ O’Brien,” there were approximately
twenty-one (21) conversations detailing the sale and consumption of marijuana. These
posts occurred between 06/02/2015 and 08/18/2017.

15. Throughout the Facebook Forensic report, there were multiple discussions for
acquiring/sale and trade of firearms.

The conversation begins on page 15549, the profile “TJ O’Brien” added the page
“Robert Tourtillott,” on 07/15/2017 at 21:48. The page “Tj O’Brien” sent the below
listed photos and then engaged in a conversation with “Robert Touttillott”.

 

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‘Robert Toutillott: What's up?

‘TJ O’Brien: Saw your post on the Cheesehead page

Tj O’Brien: Still have the 23

‘Robert Tourtillott: Yes I do

‘TJ O’Brien: Are you open to trade or need cash?

‘Robert Tourtillott: I am open to possible trades

‘TJ O’Brien: That’s an M&P CORE 9L Burris optic/3 MOA. Also
have TLR-2S. Laser/ Light/ Strobe Combo

‘TJ O’Brien: 5 inch barrel

‘TJ O’Brien: Optic has 4 different settings

‘TJ O’Brien: Little knife thing was just for fun.

‘T] O’Brien: But it does work lol

‘TJ O’Brien: Optic also has transferable lifetime warranty

‘TJ O’Brien: Also has apex trigger internals

‘Robert Tourtillott: Nice gun what are you thinking

‘T] O’Brien: The one I saw was the 23 with the conversion you had
with the holsters.

‘Robert Tourtillott: Straight up trade or what?

‘TJ O'Brien: Well with the conversion I see yours at about 600
market value in good condition, plus you have extra mags and the
holsters which

aren't cheap. Mine is about 600-650 market value plus about a 250
optic and a 250 light/ laser.

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‘TJ O’Brien: Figure I keep the TLR unless you have incentive or a
counter offer

‘TJ O’Brien: I only have 1 extra mag and a leather holster that
doesn’t fully cover trigger guard with optic but does when optic is
off.

‘T) O’Brien: But it’s a competition ready gun. Same one Jerry
Miculek uses.

Robert Tourtillott: | wouldn't need the light

‘TJ O’Brien: Just got rid of a my Walther CCP and wanted
something better for carry. I’m a fair guy too so | figure it’s a fair
trade that way. Maybe a little different but I’de rather trade with
someone off a page than a random person.

Robert Tourtillott: Where are you located? I am in Milwaukee near
the airport

‘TJ O’Brien: In Kenosha

‘T] O’Brien: My car has to go to the shop Monday too. Ball joint is
coming loose so I am immobile until then.

‘TJ O'Brien: Sorry, did you get that. I got disconnected.

‘Robert Tourtillott: No I am tailgating at Miller Park

‘TJ O’Brien: Oh okay, it said I got a video chat from you. Have fun
at the game man. I have a bike too if you wanted to meet halfway.
Or during the week works too.

Conversation between “TJ O’Brien” and “Joe Sparacino” on page 15650, dated
12/22/2016 at 00:04. Your affiant identified this individual as Joe Sparacino (W/M,
DOB: 12/23/1989) of Chicago IL. Based upon the below conversation, it appears
SPARACINO was contacting O'BRIEN in order to assist him in acquiring a handgun
from a gun show in Wisconsin. This act alone is in violation of 18 U.S.C subsection
922 (a)(3)- bringing a firearm into the state of residence. If O'BRIEN purchased the
firearm in WI and provided it to SPARACINO this is a violation of 18 U.S.C
subsection 922 (a)(5)-transfer of a firearm to an out of state resident.

Joe Sparacino: Hey so is that possible to do

‘TJ O’Brien: When?

Joe Sparacino: After new years when the holidays calm down
maybe or I wouldn’t mind it being under the tree for Christmas fol
TJ O’Brien: I get back from Cancun on the 8"

Joe Sparacino: Ya I saw your going on vacation

Joe Sparacina: I can wait

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TJ O'Brien: And I’m sorry but gotta ask, even though its stupid
even to. But the ATF didn’t like talk to you or anything did they?
Just saying ciz its outta the blue and curious why you would ask
me. I would trust you of all people, but you know how it is.

Joe Sparacino: No dude
Joe Sparacino: You seem professional about it man
Joe Sparacino: I know your in Wisconsin honestly thought it could
be easier
TJ O'Brien: I just don’t know with my Dad sometimes you know.
Haven't talked to him in years and he knows all different types of
dudes across all agencies. Plus I just had the ATF at my door a
month ago so I gotta ask.

Joe Sparacino: I feel you bro
TJ O'Brien: I have no reason not to trust you though dude.

Joe Sparacino: That’s wassup man
TJ O’Brien: I mean, everything is legal either way but Chicago is
kinda Nazi-ish and even if I had you come here they’re still weird
about shit.

Joe Sparacino: Ya but I don’t want any paper trail if possible
TJ O’Brien: We'll go to a gun show together when I get back
Joe Sparacino: I just want one honestly to have it with no tracing
back to anything if something were to happen
TJ O’Brien: Yeah man, I feel you. Even if your in the right you
could get charged there. Better to have no evidence to ensure true
freedom and safety of property.

Joe Sparacino: I’m Italian you already know
‘TJ O’Brien: You ever own a gun before or own any now?

Joe Sparacino: No
Joe Sparacino: My dad did
Joe Sparacino: We went to the range a few times
Joe Sparacino: | think it’s here still but my mom won't touch it
‘TJ O’Brien: You ever think of getting your CCW?

Joe Sparacino: Ya
Joe Sparacino: I'd carry a governer
Joe Sparacino: Lol
TT] O’Brien: Fuck that shit lol
‘TJ O’Brien: .410 ain’t shit bro and the recoil is ridiculous for that
mutch projection of force.

‘TJ O’Brien: Lol fun as fuck though
Joe Sparacino: True

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‘TJ O’Brien: Plus, in the house, its so loud. Your not gonna have
plugs. First shot and your gonna be dealing with a concussion ring
for follow up shots.

Joe Sparacino: You ain’t
Joe Sparacino: Lying

‘TJ O'Brien: I’m not a cocky dude any more but I know my shit
about firearms and how to use them. And if 1 don’t know about a
particular firearm, I'll say it. But function and practice is mostly
universal.

Joe Sparacino: Yup

16. Your affiant reviewed a comment the profile “TJ O’Brien”, made in reference
to his interview with ATF. On November 18, 2016, the profile “TJ O’Brien” engaged in a
conversation with “Anthony Sorrentino”. The profile “T] O’Brien” stated, “Morally, it
sucks a little. Never buying a in my name again unless its something I’m keeping
forever that’s high dollar. But at the end of the day, if someone wants one, they’re
gonna get it.” On 12/15/2016, the profile “TJ O’Brien” engaged in a conversation with
the page “Joe Sparacino”. The pair discuss getting SPARACINO a firearm without his
name on it. Also in the conversation, the profile “TJ O’Brien” states to “Joe Sparacino”,
“I should have my other one back so that should be cool. Plus I’m going on a spending
spree soon to build the arsenal back up lol”,

CONTROLLED PURCHASES

17. During the investigation we have conducted multiple “controlled buys.”
Based on my training and experience, ] know a “controlled buy” is a law enforcement
operation in which an informant purchases drugs, firearms or other items from a target.
The operation is conducted using surveillance, usually audio and video taping

equipment, and pre-recorded purchase money. When an informant is used, s/he is

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searched for contraband, weapons, and money before the operation. The informant is
also wired with a concealed body recorder and/or a monitoring device. When the
transaction is completed, the informant meets cases agents at a pre-determined meet
location and gives the purchased drugs, firearms or other purchased items and the
recording/ monitoring equipment to the case agents. The informant is again searched
for contraband, weapons, and money and then interviewed by the case agents about the
transaction. A sample of the suspected drugs is then field tested by the case agents for
the presence of controlled substances and then placed in inventory pursuant to normal
inventory procedures. Ideally, all of the calls to the target by the informants are
consensually recorded calls under the direction and control of case agents and made in
the presence or direction of case agents. Additionally, case agents typically observe the
informants dial the target’s number on each occasion. On occasion, it is not feasible or
safe to record and monitor a telephone call made to a target. Typically, these
unrecorded calls are last minute adjustments or very short calls to indicate arrival,
departure or other less significant issues. Unless otherwise noted, the controlled buys
and telephone contacts summarized below were conducted pursuant to the above
procedures. The controlled buys conducted with OBRIEN are outlined below.

18. Beginning in June 2018, the affiant interviewed an ATF Confidential
Informant (herein referred to as “CI”) regarding OBRIEN. The CI was shown a
photograph of OBRIEN from WI Department of Transportation Driver’s License #
O165-8108-91-6306 (image date: 05/11/2017). The CI positively identified the individual

in the photograph as “TJ” (Facebook name of Timothy OBRIEN) the individual he/she

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knew to sell marijuana. Additionally, the CI stated he/she believed he sold the male in
the photograph a firearm.

19. For several reasons, case agents believe that the CI is reliable and credible.
First, CI has been providing continuous information since June 2018. Second, the
information provided by Cl! is consistent with evidence obtained clsewhere in this
investigation where C! was not utilized, and substantial portions of Cl’s information
have been corroborated through independent investigation, including surveillance and
information from other sources. Third, the CI has made statements to case agents that
are against his/her penal interests, in that the CI has admitted his/her involvement in
the sale of firearms and narcotics in the past. Finally, the CI has had an adequate
opportunity to observe directly the events discussed and/or has heard conversations
directly from the individuals discussed herein. The CI is cooperating m exchange for
credit in an ongoing investigation in which he/she is a suspect. The Cl uttlized in this
investigation has no known criminal convictions. Investigators when possible
independently corroborated information provided by the Cl, Whenever possible text
messages between the Cl and OBRIEN were monitored, recorded and documented by
agents. All meetings between the Cl and OBRIEN were monitored, recorded and
documented by agents.

20. Your affiant is aware of three controlled purchases conducted from Timothy
OBRIEN. All of the below controlled buys were arranged via OBRIEN’s Facebook
account. The account can be identified by Facebook name “TJ Obrien”, Facebook ID #

1373617493, with a URL of

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https: / /www.facebook.com/ profile.php?id=1373617493&epa=SEARCH BOX. The CI
would contact OBRIEN via OBRIEN’s Facebook messenger to coordinate the amounts
of marijuana to be purchased, total price for the drugs, and location for the drug deal.
Facebook messenger can be accessed through a variety of electronic devices, including
cellphones and computers.

21. In October 2018, the ATF Milwaukee Field Office conducted a controlled
purchase of suspected marijuana from Timothy OBRIEN. On that day, the ATF CI
purchased fourteen (14) grams of green leafy substance from OBRIEN for $180.00. The
substance field tested positive for the presence of THC. The purchase occurred at
OBRIEN’s former residence located at 6848 29th Avenue, Kenosha, WI. An ATF
undercover agent observed OBRIEN meet with the C] in the front of the residence and
immediately recognized OBRIEN and later identified OBRIEN from observing state of
Wisconsin Department of Transportation photographs.

22. In March 2019, the ATF CI conducted a controlled purchase from OBRIEN.
The purchase occurred out front of OBRIEN’s residence located at 6848 29th Avenue,
Kenosha, WI. On that day, the ATF CI purchased seven (7) grams of suspected
Marijuana for $80.00. An ATF undercover agent observed OBRIEN meet with the CI.
The green leafy substance field tested positive for the presence of THC. During the
interaction, OBRIEN made several statements referring that he was a “gun guy.” All
statements were video and audio recorded.

23. During the week of January 13, 2020, the ATF CI conducted a controlled

purchase from OBRIEN. OBRIEN instructed the CI to 9022 25th Avenue, Kenosha, WI,

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once he/she arrived OBRIEN instructed the CI to enter the residence. At that location,
OBRIEN sold the CI 14.1 grams of suspected marijuana for $140.00. OBRIEN’s
marijuana and a firearm were stored inside of the residence. The green leafy substance
field tested positive for the presence of THC. During the interaction, OBRIEN displayed
an AR-15 style rifle to the CI. Additionally, OBRIEN made several comments about the
effectiveness of the marijuana and how it would make one feel, indicating he is a user of
marijuana. An ATF undercover agent observed OBRIEN at the door of this residence.
OBRIEN indicated he moved into the residence in the summer of 2019.
GENERAL FACEBOOK INFORMATION

24, Facebook owns and operates a free-access social networking website of the
same name that can be accessed at http://www.facebook.com. Facebook allows its
users to establish accounts with Facebook, and users can then use their accounts to
share written news, photographs, videos, and other information with other Facebook
users, and sometimes with the general public.

25. Facebook asks users to provide basic contact and personal identifying
information to Facebook, either during the registration process or thereafter. This
information may include the user’s full name, birth date, gender, contact e-mail
addresses, Facebook passwords, Facebook security questions and answers (for
password retrieval), physical address (including city, state, and zip code), telephone
numbers, screen names, websites, and other personal identifiers. Facebook also assigns

a user identification number to each account.

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26. Facebook users may join one or more groups or networks to connect and
interact with other users who are members of the same group or network. Facebook
assigns a group identification number to each group. A Facebook user can also connect
directly with individual Facebook users by sending each user a “Friend Request.” If the
recipient of a “Friend Request” accepts the request, then the two users will become
“Friends” for purposes of Facebook and can exchange communications or view
information about each other. Each Facebook user’s account includes a list of that
user’s “Friends” and a “News Feed,” which highlights information about the user’s
“Friends,” such as profile changes, upcoming events, and birthdays.

27. Facebook users can select different levels of privacy for the communications
and information associated with their Facebook accounts. By adjusting these privacy
settings, a Facebook user can make information available only to himself or herself, to
particular Facebook users, or to anyone with access to the Internet, including people
who are not Facebook users. A Facebook user can also create “lists” of Facebook friends
to facilitate the application of these privacy settings. Facebook accounts also include
other account settings that users can adjust to control, for example, the types of
notifications they receive from Facebook.

28. Facebook users can create profiles that include photographs, lists of personal
interests, and other information. Facebook users can also post “status” updates about
their whereabouts and actions, as well as links to videos, photographs, articles, and
other items available elsewhere on the Internet. Facebook users can also post

information about upcoming “events,” such as social occasions, by listing the event's

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time, location, host, and guest list. In addition, Facebook users can “check in” to
particular locations or add their geographic locations to their Facebook posts, thereby
revealing their geographic locations at particular dates and times. A particular user’s
profile page also includes a “Wall,” which is a space where the user and his or her
“Friends” can post messages, attachments, and links that will typically be visible to
anyone who can view the user's profile.

29. Facebook allows users to upload photos and videos, which may include any
metadata such as location that the user transmitted when s/he uploaded the photo or
video. It also provides users the ability to “tag” (i.e., label) other Facebook users in a
photo or video. When a user is tagged in a photo or video, he or she receives a
notification of the tag and a link to see the photo or video. For Facebook's purposes, the
photos and videos associated with a user’s account will include all photos and videos
uploaded by that user that have not been deleted, as well as all photos and videos
uploaded by any user that have that user tagged in them.

30. Facebook users can exchange private messages on Facebook with other users.
These messages, which are similar to e-mail messages, are sent to the recipient’s
“Inbox” on Facebook, which also stores copies of messages sent by the recipient, as well
as other information. Facebook users can also post comments on the Facebook profiles
of other users or on their own profiles; such comments are typically associated with a
specific posting or item on the profile. In addition, Facebook has a Chat feature that
allows users to send and receive instant messages through Facebook. These chat

communications are stored in the chat history for the account. Facebook also has a

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Video Calling feature, and although Facebook does not record the calls themselves, it
does keep records of the date of each call.

31. If a Facebook user does not want to interact with another user on Facebook,
the first user can “block” the second user from seeing his or her account.

32. Facebook has a “like” feature that allows users to give positive feedback or
connect to particular pages. Facebook users can “like” Facebook posts or updates, as
well as webpages or content on third-party (i.e., non-Facebook) websites. Facebook
users can also become “fans” of particular Facebook pages.

33. Facebook has a search function that enables its users to search Facebook for
keywords, usernames, or pages, among other things.

34. Each Facebook account has an activity log, which is a list of the user’s posts
and other Facebook activities from the inception of the account to the present. The
activity log includes stories and photos that the user has been tagged in, as well as
connections made through the account, such as “liking” a Facebook page or adding
someone as a friend. The activity log is visible to the user but cannot be viewed by
people who visit the user’s Facebook page.

35. Facebook Notes is a blogging feature available to Facebook users, and it
enables users to write and post notes or personal web logs (“blogs”), or to import their
blogs from other services, such as Xanga, LiveJournal, and Blogger.

36. The Facebook Gifts feature allows users to send virtual “gifts” to their friends
that appear as icons on the recipient's profile page. Gifts cost money to purchase, and a

personalized message can be attached to each gift. Facebook users can also send each

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other “pokes,” which are free and simply result in a notification to the recipient that he
or she has been “poked” by the sender.

37. Facebook also has a Marketplace feature, which allows users to post free
classified ads. Users can post items for sale, housing, jobs, and other items on the
Marketplace.

38. In addition to the applications described above, Facebook also provides its
users with access to thousands of other applications (“apps”) on the Facebook platform.
When a Facebook user accesses or uses one of these applications, an update about that
the user's access or use of that application may appear on the user’s profile page.

39. Some Facebook pages are affiliated with groups of users, rather than one
individual user. Membership in the group is monitored and regulated by the
administrator or head of the group, who can invite new members and reject or accept
requests by users to enter. Facebook can identify all users who are currently registered
to a particular group and can identify the administrator and/or creator of the group.
Facebook uses the term “Group Contact Info” to describe the contact information for
the group’s creator and/or administrator, as well as a PDF of the current status of the
group profile page.

40. Facebook uses the term “Neoprint” to describe an expanded view of a given
user profile. The “Neoprint” for a given user can include the following information
from the user’s profile: profile contact information; News Feed information; status
updates; links to videos, photographs, articles, and other items; Notes; Wall postings;

friend lists, including the friends’ Facebook user identification numbers; groups and

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networks of which the user is a member, including the groups’ Facebook group
identification numbers; future and past event postings; rejected “Friend” requests;
comments; gifts; pokes; tags; and information about the user’s access and use of
Facebook applications.

41. Facebook also retains Internet Protocol (“IP”) logs for a given user ID or IP
address. These logs may contain information about the actions taken by the user ID or
IP address on Facebook, including information about the type of action, the date and
time of the action, and the user ID and IP address associated with the action. For
example, if a user views a Facebook profile, that user’s IP log would reflect the fact that
the user viewed the profile, and would show when and from what IP address the user
did so.

42. Social networking providers like Facebook typically retain additional
information about their users’ accounts, such as information about the length of service
(including start date), the types of service utilized, and the means and source of any
payments associated with the service (including any credit card or bank account
number). In some cases, Facebook users may communicate directly with Facebook
about issues relating to their accounts, such as technical problems, billing inquiries, or
complaints from other users. Social networking providers like Facebook typically retain
records about such communications, including records of contacts between the user and
the provider's support services, as well as records of any actions taken by the provider

or user as a result of the communications.

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43. As explained herein, information stored in connection with a Facebook
account may provide crucial evidence of the “who, what, why, when, where, and how”
of the criminal conduct under investigation, thus enabling the United States to establish
and prove each element or alternatively, to exclude the innocent from further suspicion.
In my training and experience, a Facebook user’s “Neoprint,” IP log, stored electronic
communications, and other data retained by Facebook, can indicate who has used or
controlled the Facebook account. This “user attribution” evidence is analogous to the
search for “indicia of occupancy” while executing a search warrant at a residence. For
example, profile contact information, private messaging logs, status updates, and
tagged photos (and the data associated with the foregoing, such as date and time) may
be evidence of who used or controlled the Facebook account at a relevant time. Further,
Facebook account activity can show how and when the account was accessed or used.
For example, as described herein, Facebook logs the Internet Protocol (IP) addresses
from which users access their accounts along with the time and date. By determining
the physical location associated with the logged IP addresses, investigators can
understand the chronological and geographic context of the account access and use
relating to the crime under investigation. Such information allows investigators to
understand the geographic and chronological context of Facebook access, use, and
events relating to the crime under investigation. Additionally, Facebook builds geo-
location into some of its services. Geo-location allows, for example, users to “tag” their
location in posts and Facebook “friends” to locate each other. This geographic and

timeline information may tend to either inculpate or exculpate the Facebook account

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owner. Last, Facebook account activity may provide relevant insight into the Facebook
account owner’s state of mind as it relates to the offense under investigation. For
example, information on the Facebook account may indicate the owner’s motive and
intent to commit a crime (e.g., information indicating a plan to commit a crime), or
consciousness of guilt (e.g., deleting account information in an effort to conceal
evidence from law enforcement).

44. Therefore, the computers of Facebook are likely to contain all the material
described above, including stored electronic communications and information
concerning subscribers and their use of Facebook, such as account access information,
transaction information, and other account information.

INFORMATION TO BE SEARCHED AND ITEMS TO BE SEIZED

45.1 anticipate executing this warrant under the Electronic Communications
Privacy Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A), by using
the warrant to require Facebook to disclose to the government copies of the records and
other information (including the content of communications) particularly described in
Section I of Attachment B. Upon receipt of the information described in Section I of
Attachment B, government-authorized persons will review that information to locate
the items described in Section II of Attachment B.

46. Based on the forgoing, 1 request that the Court issue the proposed search
warrant. This Court has jurisdiction to issue the requested warrant because it is “a court
of competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A)

& (c)(1)(A). Specifically, the Court of the Eastern District of Wisconsin is a district court

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of the United States that has jurisdiction over the offense(s) being investigated, 18 U.S.C.
§ 2711(3)(A)@G). Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement

officer is not required for the service or execution of this warrant.

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ATTACHMENT A
Property to Be Searched:
This warrant applies to information between September 21, 2017 and present
date associated with the following Facebook page:

e https://www.facebook.com/ profile.php?id=1373617493
Facebook Username: TJ O’Brien, Facebook User ID: 1373617493.

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ATTACHMENT B

Particular items to be Seized

I. Information to be disclosed by Facebook

To the extent that the information described in Attachment A is within the
possession, custody, or control of Facebook, including any messages, records, files, logs,
or information that have been deleted but are still available to Facebook, or have been
preserved pursuant to a request made under 18 U.S.C. § 2703(f), Facebook is required to
disclose the following information to the government for each user ID listed in
Attachment A:

1. All contact and personal identifying information, including: full name,
user identification number, birth date, gender, contact e-mail addresses, Facebook
passwords, Facebook security questions and answers, physical address (including city,
state, and zip code), telephone numbers, screen names, websites, and other personal
identifiers.

ze All activity logs for the account and all other documents showing the
user’s posts and other Facebook activities;

De All photos uploaded by that user ID and all photos uploaded by any user
that have that user tagged in them;

4. All profile information; News Feed information; status updates; links to
videos, photographs, articles, and other items; Notes; Wall postings; friend lists,

including the friends’ Facebook user identification numbers; groups and networks of

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which the user is a member, including the groups’ Facebook group identification
numbers; future and past event postings; rejected “Friend” requests; comments; gifts;
pokes; tags; and information about the user’s access and use of Facebook applications;

3. All other records of communications and messages made or received by
the user, including all private messages, chat history, video calling history, and pending
“Friend” requests;

6. All “check ins” and other location information;

x, All IP logs, including all records of the IP addresses that logged into the
account;

8. All records of the account’s usage of the “Like” feature, including all
Facebook posts and all non-Facebook webpages and content that the user has “liked”;

9. All information about the Facebook pages that the account is or was a
“fan” of;

10. All past and present lists of friends created by the account;

1 All records of Facebook searches performed by the account;

12. All information about the user’s access and use of Facebook Marketplace;

13. The types of service utilized by the user;

14. The length of service (including start date) and the means and source of
any payments associated with the service (including any credit card or bank account

number);

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15. All privacy settings and other account settings, including privacy settings
for individual Facebook posts and activities, and all records showing which Facebook
users have been blocked by the account;

16. All records pertaining to communications between Facebook and any
person regarding the user or the user’s Facebook account, including contacts with
support services and records of actions taken.

Il. Information to be seized by the government

All information described above in Section I that constitutes fruits, evidence and
instrumentalities of violations of 18 U.S.C. § 922(g) (possession of firearm by prohibited
person); 18 U.S.C. § 924(c) (use of a firearm during a federal drug/ violent crime); and 22
U.S.C. § 841(a)(1), since September 21, 2017, for each user ID identified on Attachment
A, information pertaining to the following matters:

3 The relevant offense conduct, any preparatory steps taken in furtherance
of the scheme, communications between O’Brien and others related to the relevant
offense conduct of firearms trafficking;

2. Evidence indicating how and when the Facebook account was accessed or
used, to determine the chronological and geographic context of account access, use, and
events relating to the crime under investigation and to the Facebook account owner;

a, Evidence indicating the Facebook account owner's state of mind as it
relates to the crimes under investigation;

4 The identity of the person(s) who created or used the user ID, including

records that help reveal the whereabouts of such person(s).

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5. The identity of the person(s) who communicated with the user ID about
matters relating to relevant offense conduct of Title 18, United States Code, 922(a)(6)
(any person in acquisition of any firearm knowingly furnish a false written or oral
statement intended to deceive the dealer), Title 18, United States Code, 922(d) (sale or
transfer of firearm to a prohibited person), and Title 18, United States Code, 922(g)
(possession of a firearm by a prohibited person), including records that help reveal their

whereabouts.

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